       Case 1-17-46613-nhl             Doc 31       Filed 02/27/18     Entered 02/27/18 12:36:32




TROUTMAN SANDERS LLP
875 Third Avenue
New York, NY 10022
Tel: (212) 704-6000
Jonathan D. Forstot
David A. Pisciotta
Alissa K. Piccione

Attorneys for Capital One Equipment Finance
Corp., f/k/a All Points Capital Corp., d/b/a
Capital One Taxi Medallion Finance

 UNITED STATES BANKRUPTCY COURT
 EASTERN DISTRICT OF NEW YORK
  ------------------------------------------------------------   x
 In re:                                                          : Chapter 11
                                                                 :
 BRACHA CAB CORP., et al.,                                       : Case No. 1-17-46613 (NHL)
                                                                 :
                                                                 : Jointly Administered
                             Debtors.                            x
  ------------------------------------------------------------

     CAPITAL ONE EQUIPMENT FINANCE CORP.’S OBJECTION TO DEBTORS’
          MOTION FOR AUTHORIZATION TO USE CASH COLLATERAL

        Capital One Equipment Finance Corp. f/k/a All Points Capital Corp., d/b/a Capital One

Taxi Medallion Finance (“COTMF”), by and through its undersigned counsel, files this objection

(the “Objection”) to the Debtors’ Motion for Authorization to Use Cash Collateral [Doc. No. 29]

(the “Cash Collateral Motion”). In support of the Objection, COTMF states as follows:

                                              INTRODUCTION

        The above-captioned debtors (the “Debtors”) do not require use of COTMF’s cash

collateral because they are not operating businesses with legitimate business expenses. The

Debtors are shell companies that do nothing other than receive passive income from the lease of

their taxicab medallions. COTMF respectfully submits that the expenditures that the Debtors have

proposed in the Cash Collateral Motion are unnecessary, wasteful, and fail to benefit the Debtors’




34199148v2
       Case 1-17-46613-nhl      Doc 31     Filed 02/27/18     Entered 02/27/18 12:36:32




estates. Notably, the Debtors have requested authority to pay a salary to Esma Elberg as an

“officer” without explaining what she actually does for the Debtors and why she is entitled to any

payment. The Debtors’ silence makes clear that there is no reason for Esma Elberg to receive a

salary from the Debtors. The purported expense that the Debtors have designated as a salary is

really an unlawful shareholder dividend that this Court should not sanction. The request for

authority to pay Esma Elberg is particularly egregious considering that: (i) Esma Elberg does not

know even the most basic details about the Debtors that an “officer” would be expected to know;

and (ii) she previously took a substantial dividend from the Debtors while they were insolvent,

which violated New York law. Moreover, the Debtors also seek to spend COTMF’s cash collateral

on “rent and utilities” for the “use” of Esma’s house. Therefore, as set forth below, the Debtors’

Cash Collateral Motion should be denied.

                                       BACKGROUND

         1.    On December 8, 2017, Bracha Cab Corp., Dovber Cab Corp., Dabri Trans Corp.,

Merab Cab Corp., Fit Taxi Corp., Tamar Cab Corp., and NY Genesis Taxi Corp. each filed

petitions for relief under chapter 11 of the Bankruptcy Code with the United States Bankruptcy

Court for the Eastern District of New York (the “Bankruptcy Court”).

         2.    On December 11, 2017, Jarub Trans Corp., Somyash Taxi Corp., NY Tint Taxi

Corp., NY Stance Taxi Corp., NY Canteen Taxi Corp., NY Energy Taxi Corp., Jackhel Cab Corp.,

and Lechaim Cab Corp. commenced their cases by filing chapter 11 petitions with the Bankruptcy

Court.

         3.    The Debtors are debtors in possession operating pursuant to §§ 1107(a) and 1108

of the Bankruptcy Code. No trustee, examiner, or statutory committee of creditors has been

appointed in these chapter 11 cases.



                                                2
34199148v2
       Case 1-17-46613-nhl            Doc 31      Filed 02/27/18        Entered 02/27/18 12:36:32




         4.      The Bankruptcy Court entered an order on January 19, 2018 consolidating the

Debtors’ cases for procedural purposes only and directing that they be jointly administered by the

Court.

         5.      On February 13, 2018, COTMF filed the Motion of Capital One Equipment

Finance Corp. to Vacate the Automatic Stay or, in the Alternative, Dismiss or Convert the Debtors’

Cases or Appoint a Chapter 11 Trustee with supporting documents [Doc. Nos. 23, 24, 25 & 26]

(the “COTMF Motion”).

         6.      COTMF is a pre-petition lender with a first-priority security interest in substantially

all the Debtors’ assets, including all the Debtors’ New York City taxicab medallions (collectively,

the “Medallions”) and any proceeds thereof; all leases of the Medallions and rent payments; and

all the Debtors’ deposit accounts and receivables.1 COTMF perfected its security interests by

filing UCC financing statements with the New York Department of State. As evidenced by the

Debtors’ schedules of assets and liabilities, COTMF is the only real creditor in these cases and the

Debtors lack equity in the Medallions.

         7.      On February 16, 2018, the Debtors filed the Cash Collateral Motion. The Debtors

admit that their “Net Income”2 is COTMF’s cash collateral and propose to pay COTMF the Net

Income less the amounts allegedly needed to cover the Debtors’ expenses while in chapter 11.

         8.      By the Cash Collateral Motion, the Debtors seek to use COTMF’s cash collateral

on unnecessary, unreasonable, and unjustified expenses that fail to benefit their estates. These


1
  COTMF respectfully refers the Court to its Motion for a complete factual background regarding COTMF’s
relationship with the Debtors and its secured claims.
2
  The Debtors define “Net Income” as the income received from the taxi medallion management companies “less
expenses of management and the management fee.” Cash Collateral Motion ¶ 4. If the “Net Income”, i.e., the rental
payments, are below market for taxi medallion leases, which COTMF suspects, then it raises the issue of whether the
arrangements with the management companies were negotiated at arm’s length. To the extent that they were not
negotiated at arm’s length, COTMF reserves the right to seek a determination that the management expenses and fees
are COTMF’s cash collateral and to object to those management costs.

                                                        3
34199148v2
       Case 1-17-46613-nhl           Doc 31      Filed 02/27/18        Entered 02/27/18 12:36:32




Debtors do not belong in chapter 11, and requiring COTMF to subsidize their cases is inequitable.

Notwithstanding the Debtors’ proposal to make adequate protection payments, COTMF is not

adequately protected. COTMF’s claims are undersecured, and there is no “equity cushion” in the

collateral to protect COTMF’s interests. Therefore, the Court should deny the Cash Collateral

Motion in its entirety or, alternatively, direct the Debtors to submit further disclosures and a revised

budget pursuant to which the sums earmarked for the costs addressed below are instead used to

increase Net Income and supplement the proposed adequate protection payments to COTMF.

                                               OBJECTION

        9.       The Debtors’ request for authorization to use COTMF’s cash collateral should be

denied. As a threshold matter, an order vacating the automatic stay or dismissing these chapter 11

cases is imminent for the reasons set forth in COTMF’s Motion.3 Once effective, such an order

will permit COTMF to, among other things, exercise its state law rights and remedies with respect

to the Medallions (the sole source of the monthly Net Proceeds) and, to the extent the Court orders

dismissal, render the Cash Collateral Motion moot.

        10.      Section 363(c)(2) of the Bankruptcy Code prohibits a debtor in possession from

using cash collateral unless: “(A) each entity that has an interest in such cash collateral consents;

or (B) the court, after notice and a hearing, authorizes such use.” 11 U.S.C. § 363(c)(2). Cash

collateral includes “cash, negotiable instruments, documents of title, securities, deposit accounts,

or other cash equivalents whenever acquired in which the estate and an entity other than the estate

have an interest.” Id. § 363(a). The Court must “prohibit or condition” use of cash collateral “as

is necessary to provide adequate protection” of the secured creditor’s interest. Id. § 363(e).



3
  The hearing on COTMF’s Motion is scheduled for March 7, 2018, the same date that the Court is scheduled to hear
the Cash Collateral Motion.


                                                       4
34199148v2
       Case 1-17-46613-nhl       Doc 31      Filed 02/27/18       Entered 02/27/18 12:36:32




        11.    The Debtors correctly state in the Cash Collateral Motion that the Net Proceeds are

COTMF’s cash collateral. Pursuant to the security agreements executed in connection with the

loans to the Debtors, COTMF has security interests in the lease payments comprising Net Income,

which COTMF perfected by filing UCC financing statements. See N.Y. U.C.C. Law § 9-315(c)

(McKinney) (“A security interest in proceeds is a perfected security interest if the security interest

in the original collateral was perfected.”). Because COTMF does not consent to the use of its cash

collateral, the Debtors must obtain this Court’s approval before using the Net Proceeds.

        12.    The proposed budget (the “Budget”) annexed to Cash Collateral Motion as Exhibit

A includes line items that are unreasonable and, if approved, will allow the Debtors to dissipate

COTMF’s collateral without any corresponding benefit for the estates. The Debtors are mere

holding companies whose only function is to receive passive income under leases with third parties

for the use of their Medallions. And, as the Debtors admit, the Medallions—their sole assets—are

already being “managed” by the management companies. Therefore, there is no work for a

corporate officer, here Esma Elberg, that justifies any salary.

        13.    In fact, the Debtors do not even argue that Esma Elberg is providing services for

the Debtors that entitle her to a salary. The Cash Collateral Motion is devoid of any details

regarding what—if anything—she does. Characterizing Esma Elberg as an “officer” is inaccurate

because she does not perform any functions associated with such a role or any salaried position.

Rather, she is a shareholder only and is asking this Court to authorize an unlawful equity

distribution while the Debtors are insolvent and in bankruptcy. Any personal need or desire for

regular income that Esma Elberg may have is irrelevant to this Court’s consideration of whether

to authorize the Debtors’ proposed use of COTMF’s cash collateral. Accordingly, the Court must

deny the Debtors’ request to pay a “salary” to Esma Elberg that is really a shareholder dividend.



                                                  5
34199148v2
       Case 1-17-46613-nhl             Doc 31       Filed 02/27/18        Entered 02/27/18 12:36:32




         14.      Further, Esma Elberg is undeserving of a salary given her clear inability to run the

Debtors’ operations, as modest as they may be. While the Debtors each scheduled a “shareholder

loan” in the amount of approximately $1,000,000, Esma Elberg could not provide any information

regarding these loans. See 341(a) Hr’g Tr. 43:11 – 45:15. 4 It is even more troubling, however,

that Esma Elberg took a substantial shareholder distribution of approximately $6,000 to $21,000

from each Debtor (except for Jarub Trans Corp.) on the eve of bankruptcy, which likely violated

section 510(a) of the New York Business Corporation Law. See N.Y. Bus. Corp. Law § 510(a)

(McKinney). Given the limited scope of the Debtors’ operations and Esma Elberg’s managerial

incompetence, an officer’s salary is an unwarranted expense.

         15.      The proposed expenditure for “office rent & utilities” is likewise completely

unnecessary because Esma Elberg’s residence serves as the Debtors’ “offices”. See Hr’g Tr. 18:7-

16. This purported expense is additional compensation for Esma Elberg disguised as rent.

         16.      COTMF objects to the proposed compensation for the bookkeeper—who works for

the Debtors and non-debtor entities—because it is unclear whether these expenses are reasonable

expenses of the Debtors’ estates incurred in the ordinary course of their business. The Debtors

have failed to provide how the bookkeeper’s services are apportioned among the Debtors and non-

debtor entities. Simply put, COTMF’s cash collateral should not be spent on costs incurred by

non-debtors. Likewise, the Debtors have not demonstrated a need for a bookkeeper. The Debtors

do nothing other than receive lease payments. To the extent that the Debtors allege that a

bookkeeper is necessary for preparing monthly operating reports, COTMF’s cash collateral should




4
  A copy of the transcript of the §341(a) meeting of creditors at which Esma Elberg testified on behalf of the Debtors
is attached as Exhibit A to the Declaration of Jonathan D. Forstot in Support of Motion of Capital One Equipment
Finance Corp. to Vacate the Automatic Stay or, in the Alternative, Dismiss or Convert the Debtors’ Cases or Appoint
a Chapter 11 Trustee [Doc. No. 25].


                                                          6
34199148v2
         Case 1-17-46613-nhl            Doc 31       Filed 02/27/18         Entered 02/27/18 12:36:32




not be wasted on that expense because these Debtors should not be in bankruptcy at all. Because

the Debtors have not shown that the proposed compensation for the bookkeeper is commensurate

with the services that will be provided to the Debtors, their request to use COTMF’s cash collateral

for that expense should be denied.

          17.     COTMF submits that the proposed expense for an accountant is unnecessary and

premature. The Debtors have failed to show why retaining an accountant is necessary. When the

Debtors move to retain an accountant, COTMF and the Debtors can agree to a carve out for such

fees.5

          18.     The adequate protection payments that the Debtors have proposed in the Cash

Collateral Motion are insufficient to fully protect COTMF’s interests—even if supplemented by

the funds currently designated for officer salary, rent, bookkeeper’s fees, and accountant

compensation. In addition to the cash collateral, COTMF’s claims are secured by the Medallions.

The value of the Medallions is—and has been—declining, and there is no “equity cushion” in the

collateral to otherwise protect COTMF’s interests. See COTMF’s Memorandum of Law at 11-12

[Dkt. No. 26]. Therefore, the Debtors lack the means to fully protect COTMF’s secured claims

from erosion.

                                                 CONCLUSION

          WHEREFORE, for the foregoing reasons, COTMF respectfully requests that the Court

sustain COTMF’s Objection and enter an order (i) denying the Debtors’ Cash Collateral Motion

in its entirety or, alternatively, conditioning approval on the Debtors submitting further disclosures



5
  “[A]bsent an agreement to the contrary, a secured creditor's collateral may only be charged for administrative
expenses . . . to the extent these expenses directly benefited that secured creditor” but “if a secured party consents to
allowing such administrative expenses, that party may be liable for such expenses even in the absence of conferred
benefit.” Harvis Trien & Beck, P.C. v. Fed. Home Loan Mortg. Corp. (In re Blackwood Assocs., L.P.), 153 F.3d 61,
68 (2d Cir. 1998).


                                                           7
34199148v2
       Case 1-17-46613-nhl      Doc 31    Filed 02/27/18    Entered 02/27/18 12:36:32




and a revised budget pursuant to which the sums earmarked for officer salary, rent, bookkeeper’s

fees, and accountant compensation are instead used to increase Net Income and supplement the

proposed adequate protection payments to COTMF; and (ii) granting such other and further relief

as this Court deems just and proper.

Dated: New York, New York
       February 27, 2018                      TROUTMAN SANDERS LLP


                                              By:_s/_Jonathan D. Forstot
                                                  Jonathan D. Forstot
                                                  David A. Pisciotta
                                                  Alissa K. Piccione
                                                  875 Third Avenue
                                                  New York, New York 10022
                                                  Tel: (212) 704-6000

                                              Attorneys for Capital One Equipment Finance
                                              Corp., f/k/a All Points Capital Corp., d/b/a
                                              Capital One Taxi Medallion Finance




                                               8
34199148v2
